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 6                               IN THE UNITED STATES DISTRICT COURT

 7                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,

 9                     Respondent,                   No. 2:05-cr-0113 LKK JFM

10             vs.

11   SERGIO CURIEL, SR.,

12                     Movant.                       ORDER

13                                             /

14                     Movant, a federal prisoner proceeding pro se, filed a motion to vacate, set aside,

15   or correct his sentence pursuant to 28 U.S.C. § 2255. On April 11, 2011, petitioner filed a

16   motion to strike and a motion for sanctions for respondent’s alleged failure to serve him with any

17   pleadings. Review of the docket reveals that respondent’s opposition was filed on May 27, 2011.

18   A certificate of service filed by respondent on May 31, 2011 evidences that movant was served.

19                     Accordingly, IT IS HEREBY ORDERED that movant’s April 11, 2011 motion to

20   strike and motion for sanctions is denied.

21   DATED: September 14, 2011.

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